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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

HOPE COLEMAN, individually               )
and as the legal                         )
representative of the ESTATE             )
of TERRENCE J. COLEMAN,                  )
     Plaintiff,                          )
                                           C.A. No. 18-10646-MLW
                                         )
             v.                          )
                                         )
CITY OF BOSTON et al.,                   )
     Defendants.                         )

                                       ORDER


WOLF, D.J.                                                     March 21, 2024

      In their March 19, 2024 Joint Response, plaintiff Hope Coleman

and   defendant   City   of   Boston    state   that   "they   are   close   to

finalizing an agreement, which they expect will be executed at the

end of this week, followed by a motion to dismiss to be filed next

week" (Dkt. No. 352).

      In view of the foregoing, it is hereby ORDERED that by March

28, 2024, the motion to dismiss shall be filed or plaintiff and

the City shall file under seal an explanation of the impediment to

doing so.
